Case 2:04-cr-20364-SH|\/| Document 43 Filed 04/21/05 Page 1 of 2 Page|D 49

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEHS§PEE§ MH j y
WESTERN DIVISION
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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04-20364-Ol-Ma

VS.

WILLIAM M. BERRY,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense counsel requested a Continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., with a
report date of Thursday, April 21, 2005 at 2:00 p.m.

The period. fron1 March 25, 2005 through. May' 13, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

I'r Is so 0RDERED this md day of April, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket§eet in compliance

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This notice confirms a copy of the document docketed as number 43 in
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Honorable Samuel Mays
US DISTRICT COURT

